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EXHIBIT 2
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I, Vendors Engaged by the Receiver During this Reporting Period Relating to

Services to Assist the Receivership in the Development and Delivery of Constitutional
Medical Care Within the California Department of Corrections and Rehabilitation

(“CDCR”) and its Prisons

During the last reporting period, the Receiver has engaged the following vendors
relating to services to assist the Office of the Reciever i in the development and delivery of
constitutional care within CDCR and its prisons:'

A. Establishing Medical Support Infrastructure

1. Clinical Data Warehouse

The Receiver issued an RFP, using the Expedited Formal Bid process, seeking
software and software integration services for a clinical data repository. Proposals were
received from 3M Healthcare, Accenture, Allscripts, Axolotl, Business Computer
Applications, Blue Wolf Group, CentriHeaith, Cerner, eClinical Works, Eclipsys,
Emergis, IBM, Marquis, McKesson, Medicity, MedPlus, Microsoft, NextGen, Siemens
and Sun Microsystems. All firms except Business Computer Applications, Blue Wolf
Group, CentriHealth, Cerner, eClinical Works, Eclipsys and MedPlus were notified
directly of the RFP. IBM was selected as the software integrator and will be
implementing software applications provided by Oracle, Orion and Initiate.

2. IT Technical and Operational Infratructure, Pharmacy & the
Strategic Offender Management System (SOMS)

The Receiver solicited proposals, using the Urgent Informal Bid process, seeking

outside counsel to represent the Receiver in complex IT transactions, including

_ transactions related to SOMS and the automation of the planned central fill pharmacy.
The Urgent Informal Bid process was used because retaining such counsel is essential to
the critical path of the Receiver’s efforts to purchase, among other systems, SOMS and
the automation equipment and software for the planned central fill pharmacy, and the
additional delay that would result from using the Formal Expedited Bid process would
interfere with the procurement of these systems in a timely manner. Proposals were
Received from Thelen Reid Brown Raysman & Steiner, Orrick Herrington & Sutcliffe,
and Cooley Godward Kronish. Thelen Reid was selected.

B. Building Health Care and Health Care-Related Facilities

For the sake of brevity, vendor subcontracts are not listed herein. Information about subcontracts,
however, can be provided to the Court upon request.
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1. San Quentin

The Receiver solicited bids, using the Expedited Formal bid process, for
construction of sick call units, East/West Rotundas, at San Quentin. Bids were received
from Purdy Builers, GCC], Jeff Luchetti Construction and BBI Construction. All the
above firms were contacted directly about the request for bids. BBI Construction was
awarded the contract.

The Receiver solicited bids, using the Expedited Formal bid process, for the
construction of the Personnel Building at San Quentin. Bids were received from Purdy
Builders, Rodan Builders, Riverview Construction, Jeff Luchetti Construction, Sonoma
County Builders, Kenridge Builders, KCK Builders and GCCI. All the above firms were
contacted directly about the request for bids. Purdy Builders was awarded the contract.

The Receiver solicited proposals, using the Expedited Formal bid process, for
building commissioning services. Proposals were received from Enovity, Engineering
Economics, EYP Mission Critical Facilities, Sherrill Engineering, TestMarc Associates,
WCS, Horizon Engineering, Glumac and Facility Dynamics. All the above firms were
contacted directly about the request for proposals. Enovity was selected.

2. . Avenal

The Receiver solicited proposals, using the Expedited Formal bid process, for
civil engineering and surveying services at Avenal. Proposals were received from
Psomas, CEI Engineering Associates, MNS Engineers, RRM Design Group, North Star
Engineering Group, Civ-Tek, REY Engineers, Wood Rodgers, Rick Engineering
Company, Wallace Group, Mid-Valley Engineering, Blair Church & Flynn, and Khatri
International. Mid-Valley Engineering was selected.

The Receiver solicited proposals, using the Expedited Formal bid, process for
geological and geotechnical hazards and reporting services at Avenal. Proposals were
received from Earth Systems Pacific, Krazan & Associates, Geocon Inland Emprire,
Buena Geotechnical Services, TGR Geotechnical Services, Neil O. Anderson &
Associates, Berlogar Geotechnical Consulting, Eberhart/United Consultants, CGI
Technical Services, Converse Consultants and Steven Ferrone & Bailey. Neil O.
Anderson and Associates was selected.

Purchase orders were issued for the goods and services listed below using the
Urgent Informal bid process. The Urgent Informal bid process was used because ail the
orders below were less than $75,000. Ramps for emergency clinic trailers were
purchased from TMP Services; bids were also received from American Custom Coach
and Discount Ramps. Emergency clinic trailer set-up services were purchased from
Pacific Mobile Modular; bids were also received from Design Space and Mod Space.
Trailer sewage bladders were purchased from Potter’s Porta Potties; bids were also
obtained from Knight’s Pumping and Portable Services. Fencing for clinic trailers was
purchased from Champi Fencing; bids were also received from Rebel Fence and Fence
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Masters. A temporary administration trailer was leased from Pacific Mobile Modular;
bids were also obtained from Design Space and Mod Space. A construction trailer was
leased from Pacific Mobile Modular; bids were also obtained from Design Space and
Mod Space. Electrical services for the administration trailer were purchased from DJ’s
Electrical; bids were also received from A-C Electric and G&H Electrical Construction.
Plumbing services for the administration trailer were purchased from Arquiette
Excavation; bids were also received from Horizon Plumbing and A&B Plumbing.
Electrical services for the construction trailer were purchased from DJ’s Electrical; bids
were also received from A-C Electric and G&H Electrical Construction. Plumbing
services for the construction trailer were purchased from Arquiette Excavation; bids were
also received from Matriscope Engineering and Smith Emery Associates.

IL. Vendors Engaged by the Receiver During the Last Reporting Period for Goods or
Services to Assist the Operation of the Receiver’s Non-Profit Corporation, the California:

Prison Health Care Receivership Corporation

During the last reporting period, the Office of the Receiver has engaged the
following vendors to assist in the operation of the California Prison Health Care
Receivership Corporation: Comstock Johnson Architects (minor leasehold
improvements); Regus Business Center (office space), United Corporate Furnishings
(workstation relocation), Willis Brothers Electric (electrical upgrades) and Paskerian
Block & Martindale LLP (legal services).
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Reception Center Flow Plan
; April 18, 2008

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EXHIBIT 4
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CALIFORNIA PRISON HEALTH CARE SERVICES

INMATE MEDICAL SERVICES
VOLUME IV
& Policy C] Procedure O Attachment
Title: Emergency Medical Response System | Policy #: Chapter 12-A
Effective Date:
Last Review Date:

Revision Date:
Approval Date:

This policy applies to the following client population(s):
(X) Adult (16-65 yrs) (X) Gerlatrie (65 yrs+)

I. POLICY

The California Department of Corrections and Rehabilitation (CDCR) shall ensure that
medically necessary emergency response, treatment, and medical transportation is
available, and provided twenty-four-hours-per-day to inmates, employees, contract staff,
valunteers, and visitors.

A. It is the responsibility of the California Prison Health Care Services (CPHCS) to plan,
implement, and evaluate the Emergency Medical Response System.

B. Basic Life Support (BLS) and Advanced Cardiac Life Support (ACLS) treatment will
be provided consistent with the American Heart Association Guidelines for
Cardiopulmonary Resuscitation (CPR) and Emergency Cardiovascular Care (ECC)
and standards of the California Emergency Medical Services Authority (EMSA), and
according to each individual’s training, certification, and authorized scope of practice.

C. The CDCR adopts the California EMSA System Standards and Guidelines definition
and recommended guidelines for first-responder response times. CDCR staff or
contractors will perform the functions of First Aid, BLS, and ACLS, and response
times will meet the EMSA-recommended guidelines for metropolitan/urban areas,

D. “Response Time” is defined as the time interval starting at the placement of the first
call for an emergency medical response and ending with the arrival of treating
personnel at the scene of the incident.

E. For 90 percent of emergency responses:

a. The response time for BLS and CPR-capable personnel shall not exceed four (4)
minutes, —

b. The response time for ACLS-capable health care personnel shall not exceed eight
(8) minutes.

H. PURPOSE
The purpose of this policy is to standardize: 1) the structure and organization of the
CDCR Emergency Medical Response System, 2) facilities, equipment, and personnel

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Chapter 12-A: Emergency Medical Response System

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certification and training, 3) procedures for emergency response, and 4) mechanisms for
documentation, data management, medical oversight, and quality improvement activities.

It, DEFINITIONS

A. Clinical Staff: Physicians, Registered Nurses (RNs), Physician Assistants (PAs),
Nurse Practitioners, Licensed Vocational Nurses (LVNs), Certified Nursing
Assistants (CNAs), Psychiatric Technicians (PTs), and Dentists.

B. Ancillary Health Care Staff: ‘Respiratory Therapists, Physical Therapists, Radiology,
and Laboratory.

C. Mental Health Staff: Psychiatrists, Psychologists, Licensed Clinical Social Workers

D. First Aid: Emergency care administered to an injured or sick patient before health
care staff is available.

E. Basic Life Support (BLS): Emergency care performed to sustain life that include
cardiopulmonary resuscitation, automated external defibrillation, control of bleeding,
treatment of shock, and stabilization of injuries and wounds.

F. Advanced Cardiac Life Support (ACLS): Emergency care consisting of basic life
support procedures and definitive therapy including the use of invasive procedures,
medications and manual defibrillation,

G. Emergency Medical Services (EMS): The community response system organized by
the local EMS Agency pursuant to Health and Safety Code Division 2.5.

H. CDCR Emergency Medical Response System (EMRS): The organized pattern of
readiness and response services within the CDCR as set forth in this policy.

IV. GENERAL REQUIREMENTS

A. System Organization and Management

1. Wardens and Chief Medical Officers (CMO) are responsible for cooperatively
developing and maintaining the institution’s capacity to respond te medical
emergencies as specified in this Policy.

2. Responsibilities of Wardens and CMO are to ensure that:

a. Triage and Treatment Areas (TTA) and all clinical areas are properly
staffed and equipped.

b. All Clinical Staff, other Health Care Staff and Mental Health Staff
working in the TTA meet the educational requirements outlined in this
Policy, and have demonstrated competency in emergency patient care.

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Chapter 12-A: Emergency Medical Response System

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c. Local Operating Procedures approved by the Statewide Medical Director,
Statewide Director of Nursing (or designees), and Warden are in place for
communications, response, evaluation, treatment, and transportation of
inmates, staff, and visitors.

d. Community EMS responders have ready entry into the institution through
the vehicle Sallyport and throughout the facility in order to access the
patient.

B._ Facilities and Equipment

1. Emergency equipment and supplies, emergency medical bags, oxygen and
automated external defibrillators (AEDs) shall be maintained according to
manufacturer’s specifications and are readily accessible to health care staff in the
TTA, all clinic areas, emergency medical response vehicles, and all other areas
deemed appropriate by the HCM/DON and Warden in the institution.

2. The location of the equipment shall be clearly identified by signage.

3. The equipment will be maintained, appropriately secured and inventoried each
shift. ,

C. Personnel: Staffing and Training

1. All correctional peace officers (custody) shall, within the previous two years,
have successfully completed a course in CPR that is consistent with the American
Heart Association (AHA) guidelines. Custody staff shall maintain a system to
manage and track correctional officers’ CPR requirements,

2. All physicians, registered nurses, nurse practitioners, physician assistants, clinical
and other health care staff shall, within the previous two years, have successfully
completed a Health Care Provider level course in BLS that is consistent with the
AHA guidelines as a condition of employment. The California Prison Health
Care Services, Professional Education Unit staff shall maintain a system to
manage and track clinical and healthcare staff CPR requirements.

3. The physicians, nurse practitioners and physician assistants are required to obtain
and maintain Advanced Cardiac Life Support (ACLS) certification.

4. The Director of Nurses (DON), Supervising Registered Nurse (SRN) over TTA,
TTA RNs, and other RNs that are required to work in the TTA, will obtain and
maintain ACLS certification,

J. All nursing staff ACLS certified shall follow the AHA ACLS algorithms and
guidelines under the direction of a physician.

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Chapter 12-A: Emergency Medical Response System

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D. Institutions will Conduct Emergency Response Training Drills
1. See Policy 12-Al

REFERENCES

e American Heart Association - Guidelines for Cardiopulmonary Resuscitation and
Emergency Cardiovascular Care

* California Emergency Medical Services Authority #101: EMS System Standards
and Guidelines, June 1993.

¢ California Department of Corrections and Rehabilitation, Inmate Medical
Services Policy and Procedure Manual; Volume 12, Mental Health Services
Delivery System, Chapter 10, Suicide Prevention and Response.

¢ California Department of Corrections and Rehabilitation, Emergency Alarm
Response Plan

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CALIFORNIA PRISON HEALTH CARE SERVICES
INMATE MEDICAL SERVICES
VOLUME IV

OPolicy Procedure ) Attachment
Title: Emergency Medical Response System | Chapter #: 12-A

Effective Date:
Last Review Date:
Revised Date:
Approval Date:

PERFORMED BY: PCP: 0 RN: 0 LVN: 0

GENERAL
_INSTRUCTIONS:

« All staff has the authority to initiate a 9-1-1 call for Emergency Medical
Services (EMS).

e §6Any facility staff that encounters a medical emergency including staff and
visitor is responsible for immediately summoning assistance by the most
expeditious means available (e.g., personal alarm device, two-way radio,
whistle, shouting, or telephone).

e To efficiently activate a community EMS response and notify appropriate
facility. staff of a medical emergency, Local Operating Procedures,
approved by the Statewide Medical Director, Statewide Director of Nursing.
or designees, and Warden will: a) identify the single point of contact for
reporting medical emergencies, which will be either the Triage and
Treatment Area (TTA) Registered Nurse (RN), Watch Commander or the
Watch Sergeant; and b) establish the mechanism for the TTA RN or Watch
Commander to contact the appropriate parties.

¢ Activation of the institution Emergency Medical Response System (EMRS)
and the community EMS system shall occur as necessary to ensure the
highest level of emergency medical care is available in the shortest time
interval.

* Preservation of a crime scene shall not preclude or interfere with the
delivery of emergency medical care. Preservation of life shall take
precedence over the preservation of a crime scene.

* Custody requirements shall not unreasonably delay medical care in a
life-threatening situation unless the safety of staff, inmates, or the general
public is compromised.

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e If an inmate/patient is unable to be resuscitated, the decision to terminate
cardiopulmonary resuscitation (CPR) shall be made by a physician or
community emergency medical service personnel. Pronouncement of death
shall only be determined and made by a physician.

’ PROCEDURE:
A. Response, Treatment, and Transportation
1, First Responder (FR)

a, The first staff member (custody, medical etc.) at the scene of an
apparent medical emergency is the FR.

b. The FR shall briefly evaluate the patient and situation, then
immediately notify health care staff of a possible medical
emergency, and summon the appropriate level of assistance.

c, The FR will then immediately initiate CPR if appropriate.

d. If possible, the FR shall inform the health care staff whether the
nature of the possible medical emergency is medical, traumatic,
obstetric, or mental health.

e. The FR shall initiate community EMS activation if necessary.

f. If CPR can not be initiated due to the condition of the patient the
reason(s) must be clearly documented on a CDCR Form 837-C,
Crime/Incident Report Supplement.

2, Registered Nurse (RN) Licensed Vocational Nurse (LVN)

a. The RN or LVN shall respond promptly to the scene of the medical
emergency with a medical emergency response bag, oxygen, and an
Automated External Defibrillator (AED) and initiate and/or assist
with CPR. .

b. The RN is responsible for making an initial assessment of the
inmate/patient and deciding whether a medical emergency is
present.

c, The RN shall notify the TTA clinical staff with relevant clinical
information on impending admit and estimated time of arrival.

d. The RN shall initiate community EMS activation if needed and if
not already completed by the FR.

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Chapter 12-A: Emergency Medical Response System Procedure

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B. Patient Evaluation and Initial Treatment

1. First Responder

The FR shalt initiate appropriate First Aid and/or BLS measures,
including establish airway, breathing, and circulation, control bleeding
and CPR per their training and certification. ,

2. Custody Protocol

a. In medical emergencies, the primary objective is to preserve life.
All peace officers who respond to a medical emergency are
mandated, pursuant to court order, to provide immediate life
support, if trained to do so, until medical staff arrives to continue
life support measures. All peace officers must carry a personal CPR
mouth shield at all times.

b. The officer must evaluate and ensure it is reasonably safe to perform
life support by effecting the following actions:

i. Sound an alarm (a personal alarm or, if one is not issued, an
alarm based on local procedures must be used) to summon
necessary personnel and/or additional custody personnel.

ii. Determine and respond appropriately to any exposed bloodbome
pathogens.

iii, Determine, isolate, contain, and control the emergency and
significant security threats to self or others including any
circumstances causing harm to the involved inmate.

iv. Initiate life saving measures consistent with training.

c. The responding peace officer will be required to complete a written
report describing the decisions made regarding immediate life
support and actions taken or not taken, including cases where life
support is not initiated consistent with training and/or situations
which pose a significant threat to the officer or others.

3. RN

a. The RN shall begin appropriate medical treatment and assume
responsibility for directing any medical care already in progress.

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b. The clinical FR or RN shall begin CPR unless one or more of the
following signs of death are present. If one or more sign is present
the patient will be determined to be deceased by the physician.

i. Rigor mortis/ Dependent lividity
ii, Tissue decomposition.
iii. Decapitation
iv. Incineration
c. Once started, CPR shall be continued until:

i. Resuscitative efforts are transferred to a rescuer of equal of
higher level of training;

ii. The patient is determined to be deceased by an MD;

iii. Effective spontaneous circulation and ventilation have been
restored;

iv. Emergency responders are unable to continue because of
exhaustion or safety and security of the rescuer or others is
jeopardized;

v. A written, valid Do Not Resuscitate order is presented.

C. Patient Transportation and Definitive Care

1. The RN and Physician, based on the patient clinical condition and
emergency situation, shall:

a, Continue medical treatment until community EMS responders arrive
and assume care and transport the patient.

b. Transport the patient to the TTA.
c. If clinically appropriate, continue treatment on location and direct
EMS personnel to the scene.

2, Inmates shall only assist with transportation if they are part of the fire
crew. :

3. EMS personnel will transport the patient to a community emergency
facility according to local EMS Agency Policies and Procedures

4. During business hours the TTA RN shall notify the Chief Medical
Officer (CMO) or supervising RN (SRN) on duty of the medical
emergency transport and the circumstances of the transport as soon as

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possible. The Chief of Mental Health shall be notified of all suicides,
suicide attempts, possible overdoses, and inmates included in the Mental
Health Services Delivery System who require medical emergency
transport.

5. During non-business hours the TTA RN shall notify the institution
Physician On Call or TTA MD by telephone as soon as possible to
inform him or her of the patient status and transport decision, The SRN
shall notify the HCM.

6. For patients transferred to a community emergency facility, the TTA
physician or RN shall contact the receiving facility and provide a report
on the patient, including medical history, medication, allergies, the
history of the incident and treatment rendered. The initial report should
not be delayed because other information (medical history, medications,
or historical information) is not available. This additional information
shall be provided by a second phone call as soon as it becomes available.

D. Decumentation

1. First Responder/RN Documentation Requirements.

a. All non-clinical staff members who respond to or witness a medical
emergency must document their observations and actions-on a
CDCR Form 837-C, Crime/Incident Report Supplement.

b, Ifthe medical emergency does not meet the criteria for an CDC 837
Crime/Incident Report, the information will be transferred /
completed on a 128-C Informational Chrono, Medical, Psych,
Dental,

c. The RN will complete CDCR Form 7219, Medical Report of Injury
or Unusual Occurrences and a progress note describing assessment,
treatment and outcomes.

d. If CPR is not initiated, staff will document the reason(s) why on
CDCR Form 837-C.

¢. The use of an AED will be documented regardless of whether that
use is rendered by a health care staff member or by custody staff.
The electronic information record shall be downloaded, printed and
added to the inmates’ Unit Health Record (UHR).

f. Medical Emergency Response Documentation shall be completed
by the First Responder RN.

g. The RN shall be’ responsible for completing the Clinical
Observations and Interventions Form(s). Additional documentation

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shall be completed on an Interdisciplinary Progress Note, CDCR
Form 7230.

h. The Medical Emergency Response Documentation shall be signed’
by the RN with the date and time the forms were completed. The
forms, with additional documentation, are to be delivered to TTA
personnel before the end of the watch worked by the RN.

i, The RN shall refer inmates who present with self-inflicted injuries
to Mental Health Staff for evaluation and suicide risk assessment.

* Evaluation by Mental Health Staff shall be completed prior
to re-housing in an outpatient setting.

2. TTA Documentation Requirements

a, Basic Life Support (BLS) and Advanced Cardiac Life Support
(ACLS) BLS and ALS on the TTA CDCR Form 7403, Emergency
Care Flow Sheet.

b. Care delivered according to RN protocols on the appropriate RN
protocol forms,

c. CDCR Form 7230, Interdisciplinary Progress Note, shall be
completed when space on the CDCR Form 7403 Emergency Care
Flow Sheet, or the RN protocol forms is insufficient.

d. On arrival at the TTA, the RN shall remain with the patient and

_ continue recording until efforts are terminated, or unti] EMS

personnel assume patient care. During this time, the RN shall record
the following:

i, Patient identification data (CDCR number, or, if unavailable,
other identifying data).

ii. Description of initial events and patient presentation (patient
location, position, and witness description of events).

iii. Times various treatments and procedures are rendered.

iv. The name and title of the RN, name and title of the person to
whom the form is transferred, the date and time of the transfer,
and the RNs signature.

e. TTA staff shall attach the documentation to the TTA Emergency
Care Flow Sheet, CDCR Form 7403, for inclusion in the patient’s
UHR.

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3. Transport Documentation Requirements

a. CDCR Form 7403, the Emergency Care Flow Sheet, and all
attachments, or a copy thereof, shall be provided to the EMS
transport staff if the patient is sent out of the institution.

b. Licensed health care personne! are responsible for reviewing,
authenticating, and signing the Medical Response Documentation.

c. Sallyport officers are to maintain a standardized log of all
emergency vehicle traffic entrances and exits, including times.

_E. System Evaluation and Quality Improvement

1. Medical Emergency Response Review

a. All medical emergency responses resulting in the transfer of a
patient to an outside health care provider or a death shall be
reviewed by the CMO, the Director of Nurses (DON) and
Emergency Response Review Committee (EMRRC).
Documentation of. that review, including but not limited to
observations, relevant clinical information, recommendations, and .
corrective actions to be taken, if any, will be forwarded to the
respective Regional Director of Nursing (RDON), Regional Medical
Director (RMD) and the assigned Associate Director, Division of
Adult Institutions, within 10 days following the institution EMRRC
meeting.

b, The CMO and DON shall take appropriate action on clinical
practice issues that are identified, which may include, but are not
limited to, gathering additional information, employee counseling,
and referral of the incident to Clinical Support Unit (CSU). The
RMD and or the RDON will be notified of clinical practice issues
and actions as appropriate by CMO or DON.

¢. All deaths in which the manner of death is suicide or suspected
suicide shall be referred for review by the Suicide Prevention and
Response Focused Improvement Team (SPRFIT) with appropriate
documentation.

2. Quality Assurance and Monitoring

a. Equipment malfunctions and inadequately stocked Emergency
Medical Bags or other supplies shall be reported to the DON and
CMO immediately following the emergency medical incident,

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b. All institutions are required to conduct routine audits on all
emergency medical incidents, review the results, develop and
implement corrective actions, and monitor performance.

c. The CMO and Warden are responsible for ensuring auditing and
improvement activities are undertaken and documented on a
systematic and continuous basis.

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Chapter 12-A: Emergency Medical Response System Procedure

Case 2:90-cv-00520-KJM-SCR Document 2827-2 Filed 06/17/08 Page 22 of 48

CALIFORNIA PRISON HEALTH CARE SERVICES

INMATE MEDICAL SERVICES
VOLUME IV
EiPolicy CO] Procedure CO Attachment
Title: Emergency Medical Response Chapter #: 12-A1
Training Drill Effective Date:

Last Review Date:
Revised Date:
Approval Date:

I, POLICY

The California Department of Corrections and Rehabilitation (CDCR) shall
establish a procedure for Emergency Medical Response Training Drills. The
Medical emergency response training drills shall be conducted at least quarterly,
and on each shift.

If. PURPOSE

To ensure institutional staffs are properly trained in management of medical
. emergencies and to develop a plan of action to correct deficiencies related to
coordination of emergency response activities.

Ill. DEFINITIONS

e Emergency: An emergency as determined by staff includes any medical or
dental condition for which evaluation and treatment are necessary to prevent
death, severe or permanent disability, or to alleviate disabling pain.
[California Code of Regulations, Title 15 Section 3354 (f) (1)]..... An
emergency exists when there is a sudden marked change in an inmate’s
condition so that action is immediately necessary for the preservation of life
or the prevention of serious bodily harm to the inmate or others. [California
Code of Regulations, Title 15 Section 3351 (a)]

e Emergency Medical Response Review Committee (EMRRC): The
institution’s Emergency Medical Response Review Committee (EMRRC)
shall meet at least once a month and be comprised of the following members:

* Warden or designee (Associate Warden or higher)

HCM /CMO or physician designee

Director of Nursing or designee

Correctional Captain

Chief Psychiatrist/Psychologist, as appropriate

Physician and Surgeon, when physician issues are on the

agenda

* Nurse Instructor

= EMRRC Coordinator

= Other personnel (e.g., EMS responders) as deemed necessary

May 2008 Page 1 of 2
Chapter 12-Al; Emergency Medical Response Training Drill-Policy

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« Institution Emergency Medical Response Review Process: The
institution’s EMRRC shall review each incident in the following categories:

Deaths (e.g., homicides, suicides, accidental or unexpected)

Suicide attempts (witnessed)

Use of a Code 2 and 3 ambulance

Emergency Medical Response training drilis

Other cases as deemed appropriate

* First Responder: A first responder is the first CDCR staff member on scene
of a medical emergency within the institution.

IV. FREQUENCY OF DRILLS |
Medical emergency response training drills shall be conducted at least quarterly and
on each shift.
¢ The drills shall address responses to medical emergencies in all areas of the
institution and include participation of health care and custody staff.
e The drills may or may not be pre-announced and shall be conducted under
varied conditions.
e Each form required for medical emergency drills shall be completed
utilizing the standardized Emergency Medical Response Drill Checklist
(Attachment #1)

May 2008 Page 2 of 2
Chapter 12-Al: Emergenoy Medical Response Training Drill-Policy :

Case 2:90-cv-00520-KJM-SCR Document 2827-2 Filed 06/17/08 Page 2 @h4Rhrent #1

STATE OF CALIFORNIA CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION

EMERGENCY MEDICAL RESPONSE Instructions:

DRILL CHECKLIST 1. Forward report to CMO/DON/HCM

INSTITUTION DATE OF DRILL

TIME OF DRILL LOCATION OF DRILL TIME OF INITIAL NOTIFICATION
‘TIME OF INITIAL PATIENT CONTACT | TIME OF INITIAL CLINICAL TO PT RESPONSE TIME

CONTACT

Staff notification was by:

O Telephone O Radio O Alarm O Observation oO Other:

Who Responded:

OMD ONP OPA ORN OLVN O Custody O Mental Health 0 Dentist Other: Time:

Was patient moved prior to arrival of Health Care staff? ONO O YES, If YES why?

Did medical staff respond with emergency Bag? 0 YES O NO if NO why?

Was additional Health Care staff requested? O NO O YES, If YES who? 0 MD ONP OPAG RN
How? O Telephone © Radio O Other:

Did responding staff notify TTA staff of patient condition and estimated arrival time? OYES 0 NO, if NO why?

Was patient 0 Released to Custody 0 Transferred to TTA 0 Transferred to EMS
If tansferred what was the method of transportation?
0 Gurney OC Emergency Transport Vehicle 0 Walk C Other:

Was transportation method appropriate for patients’ medical condition? O YES ONO if NO, why?

Was TTA staffed and ready to address incoming patient? 0 YES 0 NO If NO, why?

Initial time assessment completed by TTA RN? Time:

Time MD notified of clintcat situation? Time: Time Responded:

Time 911 Called: Time: 911 activated by Namettitle:

TTA Nursing Documentation complete: O YES 0 NO If NO, why?

TTA Medicat Documentation complete: oO YES G NO If NO, why?

Time Drill Completed: Time: Total Drill time:

May 2008 . Page | of 2
Chapter 12-Al: Emergency Medical Response Training Drill-Checklist

Case 2:90-cv-00520-KJM-SCR Document 2827-2 Filed 06/17/08 Page 25 QhgRment #1

i EMERGENCY MEDICAL RESPONSE REVIEW |

Response time adequate: 0 YES 0 NO Comments:

Staff Compliance Appropriate? O YES 0 NO Comments:

Training issues Identified? O YES 0 NO Comments:

Training issues to be addressed:

System issues Identified? 0 YES 0 NO Comments:

System issues to be addressed;

| WARDEN/DESIGNEE SIGNATURE DATE
| GHIEF MEDICAL OFFICER/DESIGNEE SIGNATURE DATE
DIRECTOR OF NURSES/DESIGNEE SIGNATURE DATE
May 2008 Page 2 of 2

Chapter 12-Al: Emergency Medical Response Training Drill-Checklist

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CALIFORNIA PRISON HEALTH CARE SERVICES

INMATE MEDICAL SERVICES
VOLUME IV.
Policy Procedure Ej Attachment
Title: Emergency Medica! Response Chapter #: 12-A1
Training Drill Effective Date:

Last Review Date:
Revised Date:
Approval Date:

PERFORMED BY: PCP: OG RN: OF LVN: O18]

GENERAL
INSTRUCTIONS: Medical Emergency Response Training Drills

e The Chief Medical Officer (CMO), or designee, the Director of Nurses
(DON), or designee, the Health Care Manager (HCM), the Health Care
Associate Warden, and Warden or designee shall determine the location, time,
and scenario of the drill.

e The CMO, or designee, is responsible for advising and coordinating with the
Warden, Chief Dentist, and Chief Psychologist or Psychiatrist in advance of
the scheduled drill.

« The Chief Psychologist or designee is responsible to advise the Mental Health
staff of the impending drill and to ensure their participation.

e The Chief Dentist or designee is responsible to advise the Dental staff of the
impending drill and to ensure their participation.

e The DON or designee, is responsible for setting up the proper Cardio
Pulmonary Resuscitation (CPR) manikins and/or other necessary medical
emergency response equipment at the designated drill location.

° Institutional staff are required to respond immediately to all medical
emergency response drills within their designated area while on duty.

¢ The DON or designee, once the drill is initiated and staff are gathered, will
read the drill scenario to the staff participants. The participants will respond to
the scenario as if they are responding to an actual emergency situation.

* The custody and nursing designee shall ensure that the designated supervisor
in charge of monitoring the drill utilizes and submits an Emergency Medical

May 2008 Page ! of 2
Chapter 12-At; Emergency Medical Response Training Drilt Procedure

Case 2:90-cv-00520-KJM-SCR Document 2827-2 Filed 06/17/08 Page 27 of 48

Response Drill Checklist (Attachment #1). All Checklists will be distributed
to the designated personnel according to Local Operating Procedure.

e All forms required in an actual medical emergency will be completed in the
drill. The following forms may be included but are not limited to:

o Medical Report of Injury or Unusual Occurrence, CDC 7219,
(Attachment #2)

o Emergency Care Flow Sheet, CDC 7430 (Attachment #3)
o Crime/Incident report 837-C (Attachment #4)
© Informational Chrono. 128-C (Attachment #5)

* Immediately following the drill, the Watch Commander/Watch Sergeant, or
designee, CMO, DON, and designees, shall review the drill and conduct a
post-drill debriefing allowing the participants to evaluate the performance,
incorporate new information learned, discuss any additional steps or
components necessary to remedy any identified deficiencies.

¢ The DON or designee will evaluate the exercise and provide a summary report

- to the HCM within 14 days of the date of the drill prior to the monthly

Emergency Medical Response Review Committee (EMRRC) meeting.
(Attachment #6), The report will include but is not limited to the following:

o Synopsis of the event

o Date and time of the drill

© Drill location

© Participants involved

o Time frames of all elements i.e, response time medical/custody etc.
o Areas identified as positive or appropriate interventions

co Recommendations on areas needing improvement or training

e The EMRRC will review the DON’s summary report and develop a corrective
action plan, if appropriate, based upon the report findings.

May 2008 Page 2 of 2

Chapter 12-Ai: Emergency Medical Response Training Drill Procedure
Case 2:90-cv-00520-KJM-SCR Document 2827-2 Filed 06/17/08 PagAttaehnrent 1

STATE OF CALIFORNIA CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
EMERGENCY MEDICAL RESPONSE instructions:
DRILL CHECKLIST 4. Forward report to CMO/OOWHEM
INSTITUTION DATE OF DRILL
TIME OF DRILL LOCATION OF DRILL TIME OF INITIAL NOTIFICATION
TIME OF INITIAL PATIENT CONTACT | TIME OF INITIAL CLINICAL TO PT RESPONSE TIME

CONTACT

Staff notification was by:

O Telephone QO Radio O Alarm 0. Observation O Other:
Who Responded:

OMD ONP OPA ORN OLVN O Custody O Mental Health O Dentist Other: Time:
Was patient moved prior to arrival of Health Care staff? ONO (1 YES, if YES why?

Did medical staff respond with emergency Bag? 0 YES 0 NO if NO why?

Was additional Health Care staff requested? 0 NO O YES, If YES who? 0 MD ONP OPA O RN
How? 0 Telephone O Radio O Other:

Did responding staff notify TTA staff of patient condition and estimated arrival time? OYES Ci NO, if NO why?

Was patient C Released to Custody 0 Transferred to TTA Transferred to EMS
If transferred what was the method of transportation?
0 Gumey 0 Emergency Transport Vehicle 0 Walk 0 Other:

Was transportation method appropriate for patients’ medical condition? O YES ONO If NO, why?

Was TTA staffed and ready to address incoming patient? O YES 0 NO If NO, why?

Initial time assessment completed by TTA RN? Time:

Time MD notified of clinical situation? Time: Time Responded:

Time 911 Called: Time: 911 activated by Nameditle:

TTA Nursing Documentation complete: 0 YES 0 NO [f NO, why?

TTA Medical Documentation complete: O YES 0 NO If NO, why?

Time Drill Completed: Time: Total Drill time:

May 2008 Pape 1 of 2
Chapter 12-A1; Emergency Medical Response Training Drilt-Checklist

Case 2:90-cv-00520-KJM-SCR Document 2827-2 Filed 06/17/08 Page 29 ALAR nent #1

| EMERGENCY MEDICAL RESPONSE REVIEW |

Response time adequate: O YES ONO Comments:

Staff Compliance Appropriate? O YES 0 NO Comments:

Training issues Identified? YES Gc NO Comments:

Training issues to be addressed:

System issues Identified? o YES 0 NO Comments:

System issues to be addressed:

— = a
WARDENIDESIGNEE SIGNATURE DATE
CHIEF MEDICAL OFFICER/DESIGNEE SIGNATURE DATE
DIRECTOR OF NURSES/DESIGNEE SIGNATURE DATE
May 2008 Page 2 of 2

Chapter 12-A1: Emergency Medical Response Training Drill-Checklist

STATE OF CALIFORNIA

Me KACO EDOMRER Ee 2O-KIM-SCR Document 2827-2 Filed 06/17/08  FAtgectitneints

TAME GF INSTITUTION FACILITY/UNIT REASON FOR REPORT fcircis} INJURY ON ‘THE JOB INJURY DATE
* USE OF FORCE UNUSUAL OCCURRENCE PRE AD/SEG ADMISSION
Ta ECTION FOR |NAME LAST FiasT CDC NUMBER
ONLY

SECTION FOR NAME LAST FIRST BADGE #
STAFF ONLY
THISSECTION For [NAME = LasT FIRST MIDDLE
VISITOR ONLY

HOME ADDRESS CiTy STATE
"PLACE OF OCCURRENCE DATE/TIME OF OCCURRENCE NAME OF WITNESSES)
TIME NOTIFIED | TIME SEEN ESCORTED BY MODE OFARRIVAL (circle) arrrep
AMBULATORY ON

BRIEF STATEMENT IN SUBJECT’S WORDS OF THE CIRCUMSTANCES OF THE INJURY OR UNUSUAL OCCURRENCE

INJURIES FOUND? YES/NO
Abrasion/Scratch
Active Bleeding
Broken Bane
Bruise/Discolored Area
Burn
Dislocation
Dried Biood
Fresh Tattoo

Cc fon/Slash
O. y Area
Pain

Protrusion
Puncture
Reddened Area
Skin Flap
Swollen Area
Other

Bn ae foe | toed tod sme] eo] | 00] ~2 es [Un ae] ta be

i
“a

5

O,C, SPRAY EXPOSURE? YES / Ni

PHYSICIAN NOTIFIED/TIME

TIME/DISPOSITION

(Medical data ts 60 re Incladed in progress note or enrergency cave record filed in UHR)
CDC 7219 (Rev. 11/02) DISTRIBUTION: ORIGINAL - UHR CANARY - CUSTODY PINK - HEALTH AND SAFETY/RTW COORDINATOR

REPORT COMPLETED BY/TITLE (PRINT AND SIGN) BADGE #

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ATATE OF CALIFORNIA

Filed 06/17/08

Attachment 3
Page 31 of 48

DEPARTMERT OF CORRECTIONS

DATE:
EMERGENCY CARE FLOW SHEET TIME. IN TIME OUT
TIENT NAME {LAST, FIRST) COC NUMBER HOUSING DOB
TIME OF INCIDENT LOCATION OF INCIDENT MODE OF ARRIVAL
STAFF NAME {LAST, FIRST) OCCUPATION SEX AGE pon
F COMPLAINT FB CODE DATE OF LAST TETANUS
CHIE A i
MECHANISM OF INJURY SKIN COLOR | SKINTEMP | OSTURE a GLASCOW COMA SCALE
1 STABBING SETS E
0 PHYSICAL ALTERCATION DD NORMAL O HoT [] NORMAL C) <?SECONDS|cve SPONTANEOUS. : 4 4 : 4
O Gunshot wounp OO PALE O WARM CO prev OD »2seconps} renee | onan 32733
OO Burn OG ASHEN OO coo. OO MOIST (] NONE NONE pruad
1 sports INJURY O cyanotic |O coLp () PROFUSE BEST ORIENTED $5 ; 33
D] ON THE JOB INJURY OC) FLUSHED RESPONSE | INAPPROPRIATE
1 OTHER WORDS Fy3a34
LUNG SOUNDS RESP. CHARACTER EVIDENCE OF TRAUMA INCOMPRESHENSIALE tne
RT LT OO LABORED NONE Tiuvla
O ciear . 0 1 UNLABORED () CHEST (4 HEAD . ,
OBST OBEYS COMMAND 66 66h
‘DO WHEEZES oO O PANPUL (0 ABDOMEN [7] ‘NECK MOTO! LOCALIZES PN $5555
C) RALES Oo C1 SHALLOW O au C) EXTREMITIES | RESPONSE WITHDRAWS PO saad
C RHONCHI oO ‘O Deer Ooreevis  - 1 otHen__ EXTENSION PN, 22222
O DisinisHED q O RETRACTION CJ BACK SPINE NONE brad”
(1 ABSENT oO O NASAL PLARING a ———____
TIME
v| time | TEMP | PULSE | RESP BP 5002 CURRENT MEDICATION iM 4 Lf 4 J
. : PUPIL .
|. : RESPONSE
PUPIL
L SIZE
§ . - . KEY CeCLOSED 8=DRISK SL*“SLUGCISH F=FIXED
5 TIME 50L SITE GAUGE RATE MEDICATION ALLERGIES 3 4 5 6 7 8
: @
MEDICATIONGIVENINER |. @ @© @ @
Oo t TIME ROUTE RATE SaOr ABBREVIATION CODE
2)" Ah + Abrasion E - Sema
| Alnp -  Amputauon € - Closed Susp. Fracture
nN Av o> Avulsion H - Henmaoma
0 » B Lo + Laseroioen
§ | SUBJECTIVE: (PATIENT'S STATEMENTS, HISTORY) ate Percent P  peteduse
0 CP - Compound Frac R - Rash
a | OBJECTIVE: (PHYSICAL EVALUATION) GC + Egchymans § - Sear
ENT + Entrance Wound Bx + Exe Wound
P Sl + Surgical Incision
N| ASSESSMENT: (NURSING DIAGNOSIS)
o :
T .
‘ PLAN: (PT EDUCATION, FOLLOWUP, MD ORDERS, ETC.)
I
0
N
§
PRINT NAME SIGNATURE PATIENT DISPOSITION
AMAIA DF
0 nerurn to custopy
RNAITAMO] 6 ADAIT TO INFIRMARY ‘HOSPLTAL
RNAITAMD | [] TRANSPORTTUCGMM HOSPITAL VIA
el Asal TANCE
SUPERVISOR REVIEW Li STAT MEHICLL PATLENT CONDITION ON DISCIIARGE
* . * DO RELEASED TO CORONER oO STABLE g UNSTABLE
CDC 7403 (04/03) EMERGENCY CARE FLOW SHEET O DECEASED TIME

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DATE | ‘TIME / NOTES :

CBC NUMBER, NAME (LAST, FIRST. Mt) AND DATE OF BIRTH]

CDC F403 (04/03) EMERGENCY CARE FLOW SHEET Page 2

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STATE OF CALIFORNIA

CRIME / INCIDENT REPORT

DEPARTMENT

Attachment 4

Filed, 06/7/08 nePAUR AE RAR

PART C- STAFF REPORT INCIDENT LOG NUMBER
“9CR 837-C (Rev. 07/06) PAGE OF
ME: LAST FIRST MI | INCIDENT OATE | INCIDENT TIME
POST 4 POSITION YEARS OF SERVICE DATE OF REPORT LOCATION OF INCIDENT
. years Monte .
RDO's |DUTY HOURS [DESCRIPTION OF CRIME / INCIDENT CCR SECTION / RULE oO
YOUR ROLE WITNESSES (PREFACE S-STAFF, V-VISITOR, 0-OTHER) INMATES (PREFACE S-SUSPECT, V-VICTIM, W-WiTNESS)
EI PRIMARY fe ee bocce cece eee eee eee
DresponveR [| fe
MOwess foo fe.
CO victim
TC CAMERA ‘ .
FORCE USED BY YOU WEAPONS AND SHOTS FIRED BY YOU GHEMIGAL AGENTS USED BY YOU
(] WEAPON NO: NO: TYPE TYPE:
(1 PHYSICAL
[] CHEMICAL CO Mint C] 37mm (Coc
[) NONE Cl) 9MM CO 40mm cn
FORCE OBSERVED
BY YOU [) 38 cat Cl] ts (J cs
[) WEAPON [1] SHOTGUN C) 40 Multi E OTHER:
(1 PHYSICAL CO HFwers Ona
CD CHEMICAL O NIA [2 BaTON
C] NONE -
EVIDENCE COLLECTED EVIDENCE DESCRIPTION EVIDENGE DISPOSITION BIO PPE
BY YOU HAZARD | *
. YES Olyves | (CJ Yes
0 no OO na CI nia Ol no (J NO
REPORTING LOCATION TREATED SCIF 3301 / 3067
STAFF INJURED DESCRIPTION OF INJURY (HOSPITAL / CLINIC) FLUID EXPOSURE COMPLETED
[ Yes ( sBopiy Ona | 2 ves
OO UNKNOWN
NO NO
O C1 NA C] Nié OTHER: 0
NARRATIVE:
[1] CHECK IF NARRATIVE IS CONTINUED ON PART C1
SIGNATURE OF REPORTING STAFF TITLE BADGE # DATE
waME AND TITLE OF REVIEWER (PRINT / SIGNATURE) [DATE RECEIVED APPROVED CLARIFICATION NEEDED |DATE
Oves Cino| Dyes [No

Oistribulan = Orginal incident Package == Copy Reporting Employee

Copy Reviewing Superasor

NAGESALNOMBEFOOS20-KJIM-SCR Document 2827-2 Filed 06/17/08 PAttgcbmenad

DATE MEDICAL-PSYCHIATRIC-DENTAL
NAME and NUMBER CDC-126-C (Rev. 01/96}
DATE MEDICAL-PSYCHIATRIC-DENTAL
NAME and NUMBER CDC-128-C (Rev. 04/96)

DATE MEDICAL-PSYCHIATRIC-DENTAL

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EMERGENCY MEDICAL RESPONSE TRAINING DRILL
EVALUATION REPORT

INSTITUTION:

REPORT COMPLETED BY:

DATE:

DRILL DATE/TIME

DRILL LOCATION

DRILL SYNOPSIS

NAME/TITLE OF
DRILL
PARTICIPANTS

Emergency Response Dritl Evaluation Report . Page 1of2-

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DRILLTIMEFRAMES First Responder on Scene:
Medical Responder on Scene:
ACLS Certified staff on scene:
DRILL POSITIVE 1.
INTERVENTIONS
2.
3.
4,
5.
DRILL 1.
RECOMMENDATIONS
. 2.
3.
4,
5.

Emergency Response Drill Evaluation Report Page 2 of 2

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CALIFORNIA PRISON HEALTH CARE SERVICES

INMATE MEDICAL SERVICES
VOLUME IV
EiPolicy Oj Procedure - Attachment
Title: Emergency Medical Response Bag Chapter #: 12-A2
Audit Effective Date:

Last Review Date:
Revised Date:
Approval Date:

iL POLICY

The California Department of Corrections and Rehabilitation (CDCR) shall
establish a procedure for auditing and refilling the Emergency Response Bags.

II. PURPOSE

To ensure institutional staffs are properly trained in the location approved contents,
use, refill, and documentation of Emergency Response bag.

Ill, PROCEDURE
A. Emergency Response Bag Audit.

1. Contents of the Medical Emergency Response Bag shall be audited each
watch by the designated health care staff.

2. Documentation of the Medical Emergency Response Bag audit will be
documented on the Emergency Response Bag Inventory List (Attachment
#1).

3. Each Medical Emergency Response Bag is sealed (compartment zippers
together) with a numbered plastic seal.

a. Should the seal be broken a complete inventory of the contents and
items refilled/replaced according to the Emergency Response Bag
content / quantity list (Attachment #2).

4. All Emergency Response Bag Inventory List(s) shall be submitted and
tracked monthly to the designated institutional responsible party.

May 2008 Page 1 of 1
Chapter 12-A2: Emergency Medical Response Bag Audit

Attachment 1

GrainGr Sap leG Vetheeideded MS if RESPONSE BAG) 06/17/08 see ae-cf4c-
CHECKLIST Watch:

IMONTH: o_ i aa —

| SEALINUMBER: -
iBP Cuff: Adult & Large Adult

Disposable Stethoscope (1}

Oral Airways S/M/L (1)

CPR Mask wi onaway valve (2)

Cervical Collar Adjustable {1}

Gloves Non-Latex MIL (5)

Face Shield (2)

Mask (1}

Biohazard Bag Medium {1}

Barrier Gown (2}

Sterlle Gauze 4x4 (10)

Scissors/Shears, Paramedic (1)

Sterlle Eye Pads (4)

Abdominal Pads, Sterile 5x9-(4}

Gauze 4x4 yards (2}

Gauze 2x2 yards (2}

Tape 1" & 2" Transparent
Surgical (49a)

Triangular Bandages (2}

Cold Pack {1}

Tongue Blades (3)

Small Portable O2/Regulator (1)

Nasal Cannual (1)

Non-Rebreather Mask (1)

Malteable Extremity Splint (1)

ACE Wrap 3° & 4" (1)

[Pressure Bandage

Antimicroblal Towellets (5)

Antimicrobial Hand Cleaner

Disposable Pentight (4)

Band Aids (2 a) - 3/4x3" / t" x 3"

2x4"! Butterfly / Knuckle

Clipboard/Paper/Pen (41)

Instant Glucose (2)

Poriable Suction Device (V-Vac)

Name Inihals Name Initats Name Initials.

Name Inthais Name inilals. Name Initials

8) of 48

EMERGENCY RESPONSE BAGS

Blood Pressure cuffs: Adult & large adult 1 each
Disposable Stethoscope 1
Disposable Ambu bag with mask 1
Oral airways
Large 1 each
Medium ' leach
Small 1 each
CPR mask with one way valve 2 each
Cervical collar/neck immobilizer standard adult (adjustable) 1
Gloves non-latex Medium 5 Pair
Gloves non-latex Large 5 Pair
Face Shield 2
Mask 1
Biohazard bag Medium ’ 1
Barrier Gown 2
Sterile gauze 4x4 10
Scissors/shears, Paramedic 1
Sterile gauze 2x2 2
Abdominal pads, sterile 5x9 4
Gauze 4°X4 yards. 2
Gauze 2X4 yards. 2
Tape 1” Transparent Surgical tape 1
Tape 2” Transparent Surgical tape 1
Triangular bandages 2
Cold Pack 1
Tongue Blades 3
Small portable O2- “D” Oxygen Bottle and Regulator 1 each
Nasal Cannula 1
Non-Rebreather mask 1
Malleable Extremity Splint 1
ACE WRAP 4 Inch 1
ACE Wrap 3 inch 1
Pressure bandage 1
Antimicrobial hand cleaner 1
Antimicrobial Towelettes §
Disposable Penlight 1
Band-Aids 10 Total
% x 3 band-aid 2
1” X 3 band-aid 2
Butterfly band-aid 2
Knuckle band-aid 2

Cas 2:-90-Cv-00520-KIM-SCR_DOCUMTent 2827-2 Filed UG/I 7/08 Anam 49 Of 48
Chapter 12-A2 California Prison Health Care Services
2 x 4 band-aid 2
Clipboard/Paper/pen 1 each
Instant glucose 2
Portable suction device (V-VAC) 2

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CALIFORNIA PRISON HEALTH CARE SERVICES
INMATE MEDICAL SERVICES
VOLUME IV
f)Policy O Procedure 0 Attachment
Title: Emergency Medical Response Skills Chapter #: 12-A3

Lab Effective Date:
Last Review Date:
Revised Date:
Approval Date:

I. POLICY

The California Department of Corrections and Rehabilitation (CDCR) shall
establish a clinical skills laboratory and provide access to clinical training to the
institution staff on a minimum of a quarterly basis.

II]. PURPOSE

To ensure institutional staff are properly trained in handling medical procedures,
and to evaluate medical staff(s) clinical skills performance and to address
components necessary to remedy any identified deficiencies.

Ill. PROCEDURE
A. Emergency Medical Response Skills Lab
1. The Nurse Instructor shall ensure that medical emergency response skill
labs are scheduled on the education calendar, and all appropriate
healthcare staff has the opportunity to participate in the skills training.
2. A lab facilitator will be available during designated lab hours.

3. Documentation of the Skills Lab training and or remedial training
provided will be completed on the In-service Training Form.

Skills lab examples:

e Airway management

e C-Spine Stabilization

e Scene Survey/Scene Safety

© Mechanism of injury and injury patterns

Splinting

May 2008 Page | of 2
Chapter 12-A3: Emergency Medical Response Skills Lab .

Case 2:90-cv-00520-KJM-SCR Document 2827-2 Filed 06/17/08 Page 42 of 48

e Mega Code
e Mass casualty incident
@ Other training(s) as identified by Headquarters/Institution

4, All Skills Lab Training Forms shal! be submitted and tracked monthly to
the designated institutional responsible party.

May 2008 Page 2 of 2
Chapter 12-A3; Emergency Medical Response Skills Lab

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CALIFORNIA PRISON HEALTH CARE SERVICES

INMATE MEDICAL SERVICES
VOLUME IV
Policy O Procedure O Attachment
Title: Cardiopulmonary Resuscitation Policy #: Chapter 12-A4
Record Effective Date:

Last Review Date:
Revision Date:
Approval Date:

This policy applies to the following client population (s):
(X) Adult (16-65 yrs) (X) Gerlatric (65 yrs+)

I. POLICY

The California Department of Corrections and Rehabilitation (CDCR) shall establish a
procedure for medical staff to document Cardiopulmonary Resuscitation efforts and actions
taken by staff to resuscitate patients in respiratory and/or cardiac arrest.

IE. PURPOSE

To utilize standardized form(s) to ensure institutional staff are properly trained in
management of medical emergencies and to utilize standardized forms ensure compliance
with documentation of all code events involving respiratory and/or cardiac arrest.

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Chapter 12-A4; Cardiopulmonary Resuscitation Record

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CALIFORNIA PRISON HEALTH CARE SERVICES

INMATE MEDICAL SERVICES
VOLUME IV
O Policy | Procedure Attachment
Title: Cardiopulmonary Resuscitation Policy #: Chapter 12-A4
Record Procedure Effective Date:

Last Review Date:
Revision Date:
Approval Date:

This policy applies to the following client population (s):

(X) Adult (16-65 yrs) (X) Geriatric (65 yrs+)
PERFORMED BY: PCP: DZ RN: OR LVN: CBI
GENERAL

INSTRUCTIONS: Cardiopulmonary Resuscitation Record

e The Cardiopulmonary Resuscitation Record shall become a permanent part of the Unit
Health Record (UHR) and be accepted as sufficient documentation for nursing progress
notes, medication records, and physician orders when fully completed

* The CDCR Form XXXX, Cardiopulmonary Resuscitation Record shall be maintained on
the emergency/crash cart for immediate access, and be completed by a Registered Nurse
or designee during a code event.

e The date and time of the incident, initial and ongoing patient observations such as vital
signs, cardiac rhythm, neurologic status, and final patient disposition shall be documented
in the spaces provided on the Cardiopulmonary Resuscitation Record.

e All drugs administered during the code shall be read back and documented by the
recorder, in the spaces provided on the Cardiopulmonary Resuscitation Record at the
time of administration.

e All other resuscitative measures shall be read back and documented in the spaces
provided on the Cardiopulmonary Resuscitation Record as they occur.

e Names of the team members involved in the code shall be documented in the space
provided. Sections of the Cardiopulmonary Resuscitation Record that are not applicable
to a specific patient shall be marked “N/A.”

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Chapter 12-A4; Cardiopulmonary Resuscitation Record Procedure

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e All team members involved in the code shall, ic. Physician, Registered Nurse, Licensed
Vocational Nurse, etc. must sign the Cardiopulmonary Resuscitation Record next to their
name under the TEAM Member column.

e The completed Cardiopulmonary Resuscitation Record shall be placed in the patient’s
UHR, with copies forwarded to the Chief Medical Officer and the Director of Nurses

(DON).

* The DON shall review the code documentation and follow-up as necessary to ensure
documentation is complete.

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Chapter 12-A4: Cardiopulmonary Resuscitation Record Procedure

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xj Policy 0 Procedure 0 Attachment

Title: Emergency Medical Response Policy #: Chapter 13
Documentation and Review Effective Date:

Last Review Date:
Revision Date:
Approval Date:

This policy applies to the following client population (s):
(X) Adult (16-65 yrs) (X) Geriatric (65 yrs+)

I. POLICY
The California Department of Corrections and Rehabilitation (CDCR) shall establish an

Emergency Medical Response Review Committee (EMRRC) to review emergency medical
response in the institutions.

Il. PURPOSE
To ensure institutions review medical emergency responses on a regular basis, and develop a
plan of action to correct deficiencies related to coordination of emergency response activities.

REFERENCES
e National Commission on Correctional Health Care, Standards for Health Services in
Prisons (2003). Procedure in the Event of an Inmate Death. (P-A-10).

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Chapter 13: Emergency Medical Response Documentation and Review Policy

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OPolicy _fIProcedure &] Attachment

Title: Emergency Medical Response Chapter #: 13
Documentation and Review Effective Date:

Last Review Date:
Revised Date:
Approval Date:

GENERAL
INSTRUCTIONS: The institution’s Emergency Medical Response Review Committee
(EMRRC) shall meet at least once a month and be comprised of the
following members:
Warden or designee (Associate Warden or higher)
HCM /CMO or physician designee
Director of Nursing or designee
Correctional Captain
Chief Psychiatrist/Psychologist, as appropriate
Physician and Surgeon, when physician issues are on the agenda
Nurse Instructor
EMRRC Coordinator
Other personnel (e.g., EMS responders) as deemed necessary

PROCEDURE:
A. Institution Emergency Medical Response Review Process
1. The institution’s EMRRC shall review each incident in the following

categories:

* Deaths (e.g., homicides, suicides, accidental or unexpected)
Suicide attempts (witnessed) .
Inappropriate use of Code 2 calls
Use Code 3 ambulance
Other cases as deemed appropriate

2. The initial review shall be completed no later than 30 days from the
date of the incident. The institution’s EMRRC shall review and
evaluate the incident relevant to coordination of activity, timeliness
of responders, and clinical outcome. To determine adequacy of
response the institution’s EMRRC shall evaluate the following:

*¢ Compliance with existing policies and procedures

e Response time ,

*® Medical and custody response

* Appropriateness of medical care and documentation

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Chapter 13: Emergency Medical Response Documentation and Review Procedure

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3. When reviewing each incident the HCM/CMO or designee shall
utilize the following documents, as appropriate:

Emergency Medical Response Evaluation (EMRE)

CDCR Form 7403, Emergency Care Flow Sheet

CDCR Form 7219, Report of Injury or Unusual Occurrence

e Inmate-patient’s Unit Health Record (UHR) relevant to the
inmate-patient’s health condition and treatment prior to the
incident under review {It may be necessary to review up to 3-6
months of medical history prior to the incident.)

¢ CDCR Form 837, Incident Reports (including each applicable

supplemental report and attachments)

CDCR Form 7229-B, Inmate Suicide Report, when available

Coroner’s report of autopsy, when available

CDCR Form 7229-A, Initial Inmate Death Report

Community EMS Field Report

Confidential documents relevant to the review shall be available to
committee members if needed for reference during the meeting.

4, Minutes shall be recorded at each EMRRC meeting using the
approved template. The minutes shall be reviewed and signed by the
Warden or designee, HCM/CMO or designee, and Director of
Nursing or designee.

5. The institution’s EMRRC shall identify any deficiencies and prepare
a summary of findings along with a written plan of action. The
summary of findings and written plan of action shall be forwarded to
the Regional Medical Director,, Regional Director of Nursing and
the appropriate Associate Director on a monthly basis.

B. Headquarters Review of Institution Emergency Response

1, The Regional Medical Directors and Regional Directors of Nursing
shall review the monthly reports and written plans of action to ensure
that institutions take appropriate action to correct deficiencies.

2. The Regional Director of Nursing or designee shall prepare a
quarterly report for his/her region and submit the report the
Headquarters Executive Emergency Medical Response Review
Committee (EEMRRC).

3. The Headquarter EEMRRC shall review quarterly reports, identify
trends, and compile a statewide report for distribution to executive
management staff. .

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Chapter 13: Emetgency Medical Response Documentation and Review Procedure

